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             IN THE UNITED STATES DISTRICT COURT
            FOR THE NORTHERN DISTRICT OF GEORGIA


                                              :
SECURITIES AND EXCHANGE                       :
COMMISSION,                                   :
                                              :
                   Plaintiff,                 :
                                              :      Civil Action No.
                   v.                         :      1:12-CV-3261-ELR
                                              :
ANGELO A. ALLECA, SUMMIT                      :
WEALTH MANAGEMENT, INC.,                      :
SUMMIT INVESTMENT FUND, LP,                   :
ASSET DIVERSIFICATION FUND, LP,               :
and PRIVATE CREDIT                            :
OPPORTUNITIES FUND, LLC                       :
                                              :
                   Defendants.                :
                                              :



          Receiver’s Report Regarding the Status of the Case
        and Assets or Funds the Receiver is Attempting to Obtain

      Pursuant to this Court’s Order of February 2, 2022 [Doc. 224], Robert

D. Terry, the Receiver appointed by Order of this Court dated September 21,

2012, files this Report to describe the current status of the case, and whether

there are additional assets or funds the Receiver is attempting to obtain.

      In May, 2018, pursuant to Order of this Court, the Receiver

distributed approximately $1,360,000 to approximately 144 claimants who

were creditors of Summit Wealth Management, Inc., (“Summit”) and who
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were victimized by the fraudulent Ponzi scheme of Angelo Alleca, the

President of Summit.

      On May 10, 2018, the Receiver submitted his Second Application for

Compensation and Reimbursement of Expenses, which was granted on

January 14, 2019.

      Since his filing of the Motion for Compensation, the substantial

activities of the Receiver and his counsel have related to the litigation

relating to the validity of the assignment to Carrie Mistina, a former

employee of Summit, of a promissory note (the "Note") from Alexandria

Capital, a Virginia-based investment advisor, to Summit.

      On July 13, 2018, Carrie Mistina, moved to intervene in this matter

and filed an objection to the settlement negotiated between the Receiver and

Alexandria Capital (the “Settlement”) regarding collection of the Note,

which was the subject of the Motion to Approve Settlement filed by the

Receiver on November 20, 2017. On October 28, 2019, this Court approved

the Settlement (the "Settlement Approval Order") [Doc. 177].

      On November 19, 2019, Mistina appealed the Settlement Approval

Order to the Eleventh Circuit Court of Appeals. On October 19, 2020, the

matter was remanded by the Eleventh Circuit to this Court to determine

whether the purported assignment of the Note by Summit to Mistina was


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properly considered by the Receiver to be a fraudulent conveyance (the

"Second Order"). On April 13, 2021, an evidentiary hearing was conducted

by the Court, and on September 9, 2021 this Court entered an Order [Doc.

218] finding that the Note assignment was a fraudulent conveyance.

      On October 5, 2021, Mistina appealed the Second Order to the

Eleventh Circuit Court of Appeals. The Receiver’s brief in response to

Mistina’s appeal and brief is due on February 22, 2022.

      The Note that is the subject of the above-referenced litigation is one of

three (3) remaining assets in the Receivership estate. The value of the Note

to the Estate, if any, cannot be determined and/or distributed until the

resolution of the appeal currently pending in the Eleventh Circuit.

      The other two remaining assets are 1) cash in the amount of

$171,049.14, held in the Receivership bank account, and 2) a life insurance

policy in the face amount of $250,000 insuring the life of a former key

employee of Summit. It is the intention of the Receiver to secure a

competitive bid for the value of the life settlement represented by the policy

at such time as the Mistina case is concluded (in the event the policy benefit

has not been paid).

      Once the appeal related to the Second Order is resolved and a final

determination is made on the Settlement, the Receiver plans on winding


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down the Receivership by filing a final fee petition and seeking approval to

make a final distribution and close out the Receivership.

      Respectfully submitted this 14th day of February, 2022.



                                             /s/ Robert D. Terry
                                             Robert D. Terry
                                             Georgia Bar No. 702606
                                             Receiver

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                        CERTIFICATE OF SERVICE

      I certify that I electronically filed the foregoing with the Clerk of the

Court using the CM/ECF system that will send notice of electronic filing

to counsel of record.

      This 14th day of February, 2022.

                                             /s/ Pratt Davis
                                             Pratt H. Davis
                                             Georgia Bar. No. 212335
                                             Attorney for Receiver Robert
                                             D. Terry


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